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                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO


  DANIELLE DORSCH,
                                                  Case No. 1:17-CV-428-BLW
                        Plaintiff,

         v.                                       MEMORANDUM DECISION AND
                                                  ORDER
  STATE OF IDAHO DEPARTMENT OF
  FISH AND GAME,

                        Defendant.



                                     INTRODUCTION

       The Court has before it a motion for partial summary judgment filed by the State

of Idaho. The Court held oral argument on the motion on December 17, 2018, and took

the motion under advisement. For the following reasons, the Court will grant the motion

in part, holding that several of the claims are time-barred, but deny the motion to the

extent it seeks dismissal of the claim that the Did-Not-Achieve performance evaluation

was retaliatory in violation of the Idaho Human Rights Act.

                             LITIGATION BACKGROUND

       The plaintiff Danielle Dorsch claims that during her employment with the Idaho

Department of Fish & Game (IDFG), she was consistently denied promotion and transfer

opportunities because of her gender, was subjected to a hostile work environment, and

was ultimately fired in retaliation for complaining about this to IDFG management.
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Dorsch was originally hired by the IDFG in 2008, working as a Fish Culturist at the

IDFG’s Sawtooth Fish Hatchery, near Stanley, Idaho. Over the next eight years, she

often applied for promotions and transfers. She alleges that most of her applications were

rejected because of her gender and in retaliation for complaining about that

discrimination. She also alleges that during her eight years with the agency, she was

subjected to a hostile work environment, leading to her resignation in 2016.

       She has filed this lawsuit against the IDFG alleging violations of Title VII and the

Idaho Human Rights Act. The IDFG has responded with a motion for partial summary

judgment, seeking to dismiss some claims either for failing to have any support in the

record or for failing to comply with the time limits imposed by statutes of limitations.

The IDFG’s motion is a partial motion because it does not address several claims in the

complaint. The Court will consider each of IDFG’s arguments below.

                                        ANALYSIS

Nine Claims for denial of transfer/promotion from 2010 to 2015

       Dorsch claims that the IDFG’s rejection of her nine applications for promotion and

transfer between March 2010 and July 2015 were based on her gender and hence

discriminatory in violation of Title VII and the IHRA. Dorsch has made other claims for

discrimination based on more recent rejections, but the nine rejection claims between

2010 and 2015 are the only claims challenged by the IDFG at this time as time-barred

under the statute of limitations.

       Title VII prohibits a lawsuit unless the plaintiff previously filed the charges with

the EEOC within 300 days after the occurrence of the allegedly discriminatory act.
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National R.R. Passenger Corp. v. Morgan, 536 U.S. 101, 109 (2002)(citing 42 U.S.C. §

2000e–5(e)(1)). The IHRA prohibits a lawsuit unless the plaintiff previously filed a

complaint with the Idaho Human Rights Commission (IHRC) with one year of the

alleged unlawful discrimination. See Idaho Code § 67–5907(1).

       It is undisputed that for the nine rejections challenged in this motion, all occurred

more than a year before Dorsch filed her complaint with the IHRC and more than 300

days before she filed her charge with the EEOC. Dorsch responds that even if she cannot

seek an independent recovery for these claims, she can nevertheless admit them into

evidence in support of timely claims. But that evidentiary issue is not before the Court at

this time, and the Court expresses no opinion on it. The Court is holding here that the

nine rejections from March 2010 to July 2015 are time-barred under both Title VII and

the IHRA. The Court will therefore grant this portion of the IDFG’s motion for partial

summary judgment.

Comment by Christopher Jeszke

       Dorsch complains that her manager at the Magic Valley Hatchery, Christopher

Jeszke, made disparaging comments based on her gender in violation of Title VII and the

IHRA. The comments were made in 2013, and it is undisputed that they were made more

than a year before Dorsch filed her claim with the IHRC and more than 300 days before

she filed her charge with the EEOC. Dorsch responds that the comments are evidence of

a hostile work environment. But that evidentiary issue in not before the Court at this

time, and the Court expresses no opinion on it. The Court is holding here that the 2013

comments by Jeszke cannot constitute an independent discriminatory act based on gender
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under Title VII or the IHRA because they are time-barred. The Court will therefore grant

that portion of the IDFG’s motion for partial summary judgment.

Recordings

       Dorsch received a warning letter from the IDFG on August 6, 2015, directing her

to stop recording conversations in the workplace with IDFG employees. Dorsch claims

she was recording conversations in an effort to support her discrimination claims. She

argues that the warning letter was retaliatory under Title VII and the IHRA because it

was imposed only after she had complained about discrimination, and she was the only

employee who was subject to such a restriction. She seeks recovery for this restriction up

until the time the IDFG imposed the recording restriction on all employees pursuant to an

agency-wide rule issued in January of 2016.

       It is undisputed that the warning letter was issued more than a year before Dorsch

filed her complaint with the IHRC and more than 300 days before she filed her charge

with the EEOC. Dorsch argues, however, that each day the recording restriction was in

effect constitutes a new retaliatory act, and these continuing violations extend the time for

filing, making her filings with the EEOC and IHRC timely.

       The Court disagrees. The limitations period begins on the date the act happened,

even if there are potential effects of the decision thereafter. See Morgan, 536 U.S. at 109.

“Mere continuity of employment, without more, is insufficient to prolong the life of a

cause of action for employment discrimination.” See Delaware State College v. Ricks,

449 U.S. 250, 257(1980).
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       Consequently, the Court will hold that the August 2015 warning letter restricting

Dorsch from recording workplace conversations cannot constitute an independent

discriminatory or retaliatory act under Title VII or the IHRA because the claim is time-

barred. The Court will therefore grant that portion of the IDFG’s motion for partial

summary judgment.

Does-Not-Achieve (DNA) Evaluation

       In October of 2015, the IDFG gave Dorsch a poor performance evaluation,

referred to as a Does-Not-Achieve (DNA) evaluation. The DNA covered Dorsch’s work

performance from November of 2014 to October of 2015. It was critical of several areas

of Dorsch’s work performance, specifically noting her lack of ability to perform basic

fish culture math, lack of attention to detail, poor judgment, lack of accountability,

defensive behavior, and poor time management.

       The IDFG argues that this claim is time-barred under Title VII. If the limitation

period begins in October of 2015 when Dorsch received the DNA, her EEOC claim was

beyond the 300-day limit. But Dorsch argues that the limitations period begins on

December 10, 2015, when she completed her appeals – a process known as the Problem-

Solving Procedure – and the decision was finalized. If that date is used, her EEOC

charge is timely.

       But Dorsch’s argument was expressly rejected in Delaware State College v. Ricks,

449 U.S. 250 (1980). The plaintiff there made the same argument that Dorsch makes

here – that the limitations period should be tolled while an appeal process was underway

to reverse or modify the original decision. The Supreme Court rejected the argument,
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holding that “the pendency of a grievance, or some other method of collateral review of

an employment decision, does not toll the running of the limitations periods.” Id. (citing

Electrical Workers v. Robbins & Myers, Inc., 429 U.S. 229, (1976)). The Title VII claim

that relies on the issuance of the DNA must therefore be dismissed as time-barred.

       The IDFG concedes that Dorsch timely filed a charge regarding the DNA with the

IHRC. The IDFG’s motion seeks a finding that the DNA retaliation claim under the

IHRA is not actionable as a matter of Idaho law.

       The IDFG claims that under Idaho case law, a poor performance evaluation issued

after an employee complains about discrimination cannot be retaliatory if a similar poor

performance evaluation was issued prior to the employee’s complaints. See Mendez v.

Univ. Servs. Boise State Univ., 409 P.3d 817, 824 (2018). But Mendez was a pro se case

where the plaintiff presented nothing to substantiate his retaliation claims. Here Dorsch

has submitted evidence challenging the DNA.

       Mendez is distinguishable for another reason. While it is true that Dorsch received

an earlier poor performance evaluation – issued prior to her complaints – she claims that

she improved her performance from that earlier evaluation and yet received the same

poor evaluation in October of 2015 in retaliation for complaining about discrimination.

Her claims raise questions of fact about whether the October 2015 DNA was retaliatory

under the IHRA. The Court will therefore deny the IDFG’s motion for partial summary

judgment on the claim that the October 2015 was retaliatory in violation of the IHRA, but

will grant partial summary judgment on the claim that it was retaliatory in violation of

Title VII.
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Conclusion

      The Court will therefore grant in part the IDFG’s motion for partial summary

judgment, and make the following rulings: (1) The nine times Dorsch was rejected by the

IDFG for promotion or transfer between March 2010 and July 2015 are time-barred

under both Title VII and the IHRA; (2) The 2013 comments by Christopher Jeszke

cannot constitute independent discriminatory acts under Title VII or the IHRA because

they are time-barred; (3) The August 2015 warning letter restricting Dorsch from

recording workplace conversations cannot constitute an independent discriminatory act

under Title VII or the IHRA because the claim is time-barred; (4) The claim that the

October 2015 DNA was retaliatory in violation of Title VII is time-barred.

      The Court will deny the motion to the extent it seeks a ruling that October 2015

DNA was retaliatory in violation of the IHRA.

                                        ORDER

      In accordance with the Memorandum Decision set forth above,

      NOW THEREFORE IT IS HEREBY ORDERED, that the motion for partial

summary judgment (docket no. 15) is GRANTED IN PART AND DENIED IN PART. It

is granted to the extent it seeks the following rulings: (1) The nine times Dorsch was

rejected by the IDFG for promotion or transfer between March 2010 and July 2015 are

time-barred under both Title VII and the IHRA; (2) The 2013 comments by Christopher

Jeszke cannot constitute independent discriminatory acts under Title VII or the IHRA

because they are time-barred; (3) The August 2015 warning letter restricting Dorsch from

recording workplace conversations cannot constitute an independent discriminatory act
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under Title VII or the IHRA because the claim is time-barred; (4) The claim that the

October 2015 DNA was retaliatory in violation of Title VII is time-barred. The Court

will deny the motion to the extent it seeks a ruling that October 2015 DNA was

retaliatory in violation of the IHRA.



                                                DATED: January 8, 2019


                                                _________________________
                                                B. Lynn Winmill
                                                U.S. District Court Judge
